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                EXHIBIT 23
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                                                                                    FILED
                                                                               17 MAR 24 AM 11:07

                                                                                KING COUNTY
 1                                                                          SUPERIOR COURT CLERK
                                                                                   E-FILED
 2                                                                       CASE NUMBER: 17-2-07094-7 KNT


 3

 4

 5

 6

 7
              IN THE SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
 8
      CRISANTO MEDINA, a married man;
 9    and FIRS HOME OWNERS
      ASSOCIATION, a domestic nonprofit              NO.
10    corporation;
                           Petitioners,              LAND USE PETITION
11
                   v.
12                                                   (Chapter 36.70C RCW)
      CITY OF SEATAC, a Washington
13    Municipal Corporation; and FIFE
      MOTEL INC., a domestic corporation,
14    et al.,
                               Respondents.
15

16          Pursuant to Land Use Petition Act, Chapter 36.70C RCW (LUPA), State

17   Environmental Policy Act, Chapter 43.21C (SEPA), Manufactured/Mobile Home
18   Landlord-Tenant Act Amendments, Chapter 59.20 RCW, SeaTac Municipal Code
19
     Chapter 15.465, and other applicable law, plaintiffs/petitioners Crisanto Medina and
20
     the Firs Home Owners Association allege and plead as follows:
21
                                 I. JURISDICTION AND VENUE
22
            1.1    The Court has jurisdiction over this matter under LUPA, SEPA, other
23

24
     applicable law, and under the grant of jurisdiction to superior courts through Article IV,

25   Section 6 of the Washington State Constitution.

26          1.2    Venue properly lies in this court under RCW 4.12.010.
                                                                        Barraza Law, PLLC
                                                                     14245-F Ambaum Blvd. SW
     LAND USE PETITION - 1
                                                                         Burien, WA 98166
                                                                        206-933-7861 phone
                                                                          206-933-7863 fax
            Case 2:19-cv-01130-RSL Document 96-23 Filed 03/04/21 Page 3 of 39




                                               II. PARTIES
 1

 2          2.1     Name and mailing address of petitioners:

 3                  Crisanto Medina
                    20440 International Boulevard, Space 62
 4                  SeaTac, WA 98198
 5
                    Firs Home Owners Association1
 6                  c/o Barraza Law PLLC
                    14245F Ambaum Blvd SW
 7                  Burien, WA 98166

 8          2.2     Name and mailing address of the attorney for all petitioners is:
 9                  Vicente Omar Barraza
10
                    Barraza Law PLLC
                    14245F Ambaum Blvd SW
11                  Burien, WA 98166

12          2.3     The name and mailing address of the local jurisdiction whose land use
13   decisions are at issue in this case is:
14
                    City of SeaTac
15                  4800 South 188th Street
                    SeaTac, WA 98188-8605
16
            2.4     The City Attorney of the City of SeaTac is:
17
                    Mary Mirante Bartolo,
18
                    4800 South 188th Street
19
                    SeaTac, WA 98188-8605

20          2.5     Name and mailing address of the owner and applicant:

21                  Fife Motel, Inc.
                    706 Marine Hills Way
22                  Federal Way, WA 98003
23
            2.6     Attorney for owner/applicant:
24

25   1The Hearing Examiner’s Decision on Reconsideration identified the Firs Home Owners Association as
     “The Firs Mobile Home Park Homeowners Association.”
26
                                                                              Barraza Law, PLLC
                                                                           14245-F Ambaum Blvd. SW
     LAND USE PETITION - 2
                                                                               Burien, WA 98166
                                                                              206-933-7861 phone
                                                                                206-933-7863 fax
           Case 2:19-cv-01130-RSL Document 96-23 Filed 03/04/21 Page 4 of 39




                  Walter H. Olsen, Jr.
 1
                  Olsen Law Firm PLLC
 2
                  205 South Meridian
                  Puyallup, WA 98371
 3
           2.7    Other parties requesting notice:
 4
                  Jan Sylvester
 5                12605 – 115th Ave Ct E
                  Puyallup, WA 98374
 6

 7                Earl Gipson
                  17050 51st Ave S
 8                SeaTac, WA 98188-4236

 9                                III. DECISIONS APPEALED
10
           3.1    Petitioners appeal the Report and Decision and Decision on
11
     Reconsideration issued by the City of SeaTac Hearing Examiner, City of SeaTac case
12
     number APL 16-0001. The Hearing Examiner issued the Report and Decision on
13
     February 22, 2017 and the Decision on Reconsideration on March 6, 2017 (Land Use
14

15
     Decision). The initial decision of the City of SeaTac is attached herein as Exhibit A.

16   The Hearing Examiner’s Report and Decision issued on February 22, 2017 is attached

17   herein as Exhibit B. The Hearing Examiner’s Decision on Reconsideration on March
18   6, 2017 is attached herein as Exhibit C.
19
                                         IV. STANDING
20
           4.1    Crisanto Medina is aggrieved or adversely affected by the Land Use
21
     Decision. He rents space 62 in the Firs Mobile Home Park where he resides with his
22
     family in a mobile home they own. The decision of the City of SeaTac to approve
23

24
     Respondent Fife Motel Inc.’s Relocation Plan for the Firs Mobile Home Park directly

25   affects Mr. Medina’s possessory and personal property rights. Crisanto Medina,

26   acting individually and as President of the Firs Home Owners Association timely
                                                                       Barraza Law, PLLC
                                                                    14245-F Ambaum Blvd. SW
     LAND USE PETITION - 3
                                                                        Burien, WA 98166
                                                                       206-933-7861 phone
                                                                         206-933-7863 fax
           Case 2:19-cv-01130-RSL Document 96-23 Filed 03/04/21 Page 5 of 39




     filed an appeal of the Director's decision on October 31, 2016 and timely
 1

 2
     submitted supplemental materials were received on November 18, 2016.

 3         4.2    Mr. Medina is President of the Firs Home Owners Association Board of

 4   Directors. The Firs Home Owners Association incorporated as a nonprofit domestic
 5   corporation on October 22, 2016 under Unified Business Identifier number
 6
     604047064. The Firs Home Owners Association members are individual home owners
 7
     who rent spaces on which their mobile homes are located who are aggrieved or
 8
     adversely affected by the Land Use Decision.
 9
           4.3    Petitioners are prejudiced or are likely to be prejudiced by the Land Use
10

11   Petition. Each petitioner has interests and has and continues to assert those interests

12   herein that are among those that the local jurisdiction was required to consider when it

13   made the Land Use Decision. A judgment in favor of petitioners would substantially
14   eliminate or redress the prejudice caused or likely to be caused by the Land Use
15
     Decision and petitioners have exhausted administrative remedies to the extent
16
     required by law.
17
                                 V. STATEMENT OF ERRORS
18
           5.1    The City of SeaTac failed or refused to comply with applicable provisions
19

20   of law, including but not limited to LUPA, SEPA, Manufactured/Mobile Home Landlord-

21   Tenant Act Chapter 59.20 RCW, SeaTac Municipal Code Chapter 15.465. The

22   Hearing Examiner errored as follows:
23
                  a.     Finding no. 2: The Examiner failed to follow prescribed
24
           procedures to the extent that the Examiner erroneously concluded as a matter
25
           of law that the City of SeaTac responsible official properly issued a threshold
26
                                                                       Barraza Law, PLLC
                                                                    14245-F Ambaum Blvd. SW
     LAND USE PETITION - 4
                                                                        Burien, WA 98166
                                                                       206-933-7861 phone
                                                                         206-933-7863 fax
            Case 2:19-cv-01130-RSL Document 96-23 Filed 03/04/21 Page 6 of 39




            Determination of Nonsignificance following review pursuant to the State
 1

 2
            Environmental Policy Act (SEPA) on July 22, 2016. SeaTac Municipal Code

 3          15.465.600(H)(1)(b) requires Fife Motel Inc. to conduct an analysis of

 4          environmental conditions of the park. According to the Hearing Examiner:
 5          “Residents of the mobile home park presented compelling testimony regarding
 6
            the hardships involved in relocation of their homes to include, finding a vacant
 7
            space in a mobile home park, disruption of their children’s education in having
 8
            to change schools, loss of community support, and loss of convenient transit
 9
            service. “
10

11                  b.      Finding no. 2: The Examiner failed to follow prescribed

12          procedures to the extent that the Examiner erroneously concluded as a matter

13          of law that no SEPA appeals were timely filed.
14                  c.      Finding no. 4: The Examiner failed to follow prescribed
15
            procedures to the extent that the Examiner erroneously concluded as a matter
16
            of law that the City has established by a preponderance of the evidence that
17
            The Firs Mobile Home Park Relocation Plan satisfies all criteria set forth in
18
            SMC 15.465.600(H)(1)(a-f). SeaTac Municipal Code 15.465.600(H)(1)(a)
19

20          requires Fife Motel Inc. to prepare an inventory of park tenants and their mobile

21          homes to provide data for the SEPA checklist and SEPA analysis of the

22          environmental impacts of mobile home park closure.2 The inventory also
23
            establishes a basis for identifying relocation/mitigation options. The inventory
24

25
     2 The City of SeaTac issued a threshold Determination of Nonsignificance following review pursuant to
26   the State Environmental Policy Act (SEPA) on July 22, 2016.
                                                                                Barraza Law, PLLC
                                                                             14245-F Ambaum Blvd. SW
     LAND USE PETITION - 5
                                                                                 Burien, WA 98166
                                                                                206-933-7861 phone
                                                                                  206-933-7863 fax
           Case 2:19-cv-01130-RSL Document 96-23 Filed 03/04/21 Page 7 of 39




           “shall” include tenants’ age, income, and number of years in the park; the age
 1

 2
           and conditions of tenants’ mobile homes; and the cost of pad rental, utility fees,

 3         personal utilities, insurance, personal property taxes, and “mobile home

 4         security interests”. The inventory form must clearly advise tenants that the
 5         disclosure is voluntary and that the purpose is to assess the impact of the
 6
           proposed closure and applicability of low-income housing assistance programs.
 7
                  d.     Finding no. 5: The Examiner failed to follow prescribed
 8
           procedures to the extent that the Examiner erroneously concluded as a matter
 9
           of law that the Examiner has no jurisdiction to consider the environmental
10

11         appeal.

12                e.     Finding no. 11: The Examiner failed to follow prescribed

13         procedures to the extent that the Examiner erroneously concluded as a matter
14         of law that the Examiner has no authority to require a park owner to “start over”
15
           and provide all notices, letters, and plans to the tenants in Spanish as neither
16
           the RCW nor the SMC require such.
17
                  f.     Finding No. 12.a. The Examiner failed to follow prescribed
18
           procedures to the extent that the Examiner erroneously concluded as a matter
19

20         of law that the inventory meets the requirements of Section SMC

21         15.465.600(H)(1)(a).

22                g.     Finding No. 12.b. The Examiner failed to follow prescribed
23
           procedures to the extent that the Examiner erroneously concluded as a matter of
24
           law that the owner did not have to provide the checklist and other environmental
25
           documents in Spanish.
26
                                                                       Barraza Law, PLLC
                                                                    14245-F Ambaum Blvd. SW
     LAND USE PETITION - 6
                                                                        Burien, WA 98166
                                                                       206-933-7861 phone
                                                                         206-933-7863 fax
           Case 2:19-cv-01130-RSL Document 96-23 Filed 03/04/21 Page 8 of 39




                   h.    Finding No. 12.c. and 14.G. The Examiner failed to follow
 1

 2
           prescribed procedures to the extent that the Examiner erroneously concluded as

 3         a matter of law that the owner provided an adequate list of relocation options.

 4         SeaTac Municipal Code 15.465.600(H)(1)(c) requires Fife Motel Inc. to provide
 5         affected residents a list of relocation options.
 6
                   i.    Finding No. 12.d. The Examiner failed to follow prescribed
 7
           procedures to the extent that the Examiner erroneously concluded as a matter of
 8
           law that the owner complied with SMC 15.465.600(H)(1)(d) by gathering and
 9
           coordinating tenant relocation preferences. SeaTac Municipal Code
10

11         15.465.600(H)(1)(d) requires Fife Motel Inc. to gather and then coordinate each

12         tenant’s housing relocation preferences with others in the park.

13                 j.    Finding No. 12.f. The Examiner failed to follow prescribed
14         procedures to the extent that the Examiner erroneously concluded as a matter of
15
           law that the Relocation Plan adequately addresses the impacts of park closure
16
           on the tenants.
17
                   k.    Finding No. 14.A. The Examiner failed to follow prescribed
18
           procedures to the extent that the Examiner erroneously concluded as a matter of
19

20         law that the erroneous legal citations contained in the City’s notice of approval

21         letter constituted a mere scrivener’s error.

22                 l.    Finding No. 14.C. The Examiner failed to follow prescribed
23
           procedures to the extent that the Examiner erroneously concluded as a matter of
24
           law that the owner provided adequate service of the final, approved Relocation
25
           Plan.
26
                                                                       Barraza Law, PLLC
                                                                    14245-F Ambaum Blvd. SW
     LAND USE PETITION - 7
                                                                        Burien, WA 98166
                                                                       206-933-7861 phone
                                                                         206-933-7863 fax
           Case 2:19-cv-01130-RSL Document 96-23 Filed 03/04/21 Page 9 of 39




                  m.     Finding No. 14. E. The Examiner failed to follow prescribed
 1

 2
           procedures to the extent that the Examiner erroneously concluded as a matter of

 3         law that the owner properly prepared the required inventory.

 4                n.     Finding No. 14. F. The Examiner failed to follow prescribed
 5         procedures to the extent that the Examiner erroneously concluded as a matter of
 6
           law that the owner and City had no duty to ensure the translation of the inventory
 7
           form into Spanish.
 8
                  o.     Finding No. 14.H. The Examiner failed to follow prescribed
 9
           procedures to the extent that the Examiner erroneously concluded as a matter of
10

11         law that the owner and City had no duty to ensure the SEPA analyze the impact

12         of the park closure on the net worth of affected families.

13                p.     Finding No. 14.I. The Examiner failed to follow prescribed
14         procedures to the extent that the Examiner erroneously concluded as a matter of
15
           law that the owner and the City had no duty to translate all relocation related
16
           materials into Spanish.
17
                  q.     Finding No. 14.J. The Examiner failed to follow prescribed
18
           procedures to the extent that the Examiner erroneously concluded as a matter of
19

20         law that the owner and the City had no duty to analyze the impacts of the park

21         closure on Madrona Elementary School.

22                r.     Finding No. 14.K. The Examiner failed to follow prescribed
23
           procedures to the extent that the Examiner erroneously concluded as a matter of
24
           law that he lacked jurisdiction to consider civil rights related issues. Section
25
           15.465.600(H)(2)(a-k) of the SeaTac Municipal Code sets forth the “Required
26
                                                                        Barraza Law, PLLC
                                                                     14245-F Ambaum Blvd. SW
     LAND USE PETITION - 8
                                                                         Burien, WA 98166
                                                                        206-933-7861 phone
                                                                          206-933-7863 fax
          Case 2:19-cv-01130-RSL Document 96-23 Filed 03/04/21 Page 10 of 39




           Process” related to the Relocation Plan. SeaTac Municipal Code Section
 1

 2
           15.465.600(H)(2)(b) also required the City of SeaTac to schedule a meeting with

 3         tenants. Mr. Pilcher testified that he did not schedule the meeting, but attended a

 4         meeting that the mobile home park owner scheduled and which occurred on July
 5         11, 2016 meeting. Mr. Pilcher testified that the owner sent an English-language
 6
           letter dated July 7, 2016 inviting them to attend the July 11, 2016 meeting which
 7
           Mr. Pilcher attended. Mr. Pilcher confirmed that: (1) a Spanish language
 8
           interpreter was present at the meeting, but the City did not pay for the interpreter;
 9
           and (2) the July 7 letter was not translated and the City did not require its
10

11         translation.

12                s.      Conclusion 2. The Examiner failed to follow prescribed procedures

13         to the extent that the Examiner erroneously concluded as a matter of law that the
14         Director’s decision to approve the Mobile Home Park Relocation Plan for The
15
           Firs Mobile Home Park issued on October 17, 2016, was legally correct and
16
           satisfied all criteria set forth in SMC 15.465.600(H).
17
                  t.      Decision on Reconsideration. The Hearing Examiner failed to follow
18
           prescribed procedures to the extent that the Examiner denied Petitioners’ Motion
19

20         for Reconsideration. The record for the Public Hearing closed on February 2,

21         2017 and the City of SeaTac Hearing Examiner issued a Report and Decision on

22         February 22, 2017. The Petitioners moved for reconsideration on March 1, 2017
23
           and requested that the Hearing Examiner vacate his decision and remand the
24
           matter back to the City to reconvene a new Public Hearing because he failed to
25
           issue his decision in accordance with SeaTac Municipal Code 1.20.140 which
26
                                                                        Barraza Law, PLLC
                                                                     14245-F Ambaum Blvd. SW
     LAND USE PETITION - 9
                                                                         Burien, WA 98166
                                                                        206-933-7861 phone
                                                                          206-933-7863 fax
           Case 2:19-cv-01130-RSL Document 96-23 Filed 03/04/21 Page 11 of 39




            mandates that the Hearing Examiner “shall” render a written recommendation or
 1

 2
            decision within ten days of the hearing. Here, while the record closed on

 3          February 2, 2017, the Hearing Examiner did not issue a decision until February

 4          22, 2017. The Hearing Examiner denied the Petitioners Motion for
 5          Reconsideration on March 6, 2017.
 6
                   u.     Closing Brief. The Hearing Examiner failed to follow prescribed
 7
            procedures to the extent that the Examiner refused to consider Petitioners’
 8
            arguments related to unconstitutional gifts provided by the City of SeaTac to the
 9
            Applicant/Respondent Fife Motel Inc. Mr. Pilcher “testified that translation (of the
10

11          Relocation Plan) is not required by the code, but he voluntarily asked the owner

12          to translate the plan and the owner complied. Staff asked for the owner’s

13          agreement for the translation. Upon receipt the City hired a third party to verify
14          the accuracy of the translation. The City then opted to have the plan retranslated
15
            more accurately. The City’s translation is the version in the final plan.”
16
                                   VI. REQUEST FOR RELIEF
17
        Wherefore, Petitioners respectfully request the Court to:
18
            6.1.   Stay and suspend all action to implement the Land Use Decision here
19

20   under review pursuant to RCW 36.70C.100;

21          6.2.   Reverse SeaTac’s October 17, 2016 decision approving the applicant’s

22   relocation plan;
23
            6.3.   Reverse the Hearing Examiner’s February 22, 2017 Land Use Decision;
24
            6.4.   Reverse the Hearing Examiner’s March 6, 2017 Land Use Decision on7
25
     Reconsideration;
26
                                                                        Barraza Law, PLLC
                                                                     14245-F Ambaum Blvd. SW
     LAND USE PETITION - 10
                                                                         Burien, WA 98166
                                                                        206-933-7861 phone
                                                                          206-933-7863 fax
           Case 2:19-cv-01130-RSL Document 96-23 Filed 03/04/21 Page 12 of 39




           6.5.   The Court enter an Order reversing the City of SeaTac’s approval of the
 1

 2
     Relocation Plan submitted by Fife Motel Inc. which it approved on October 17, 2016.

 3         6.6    The Court enter an Order staying the closure of the mobile home park

 4   currently scheduled for October 31, 2017.
 5         6.7.   Award petitioners their actual reasonable attorney fees, costs and
 6
     expenses incurred in pursuing this petition; and
 7
           6.8    Such additional and further relief as the Court finds just and equitable.
 8
           Respectfully submitted this 24th day of March 2017.
 9
                                                        s/ Vicente Omar Barraza
10                                                      Vicente Omar Barraza, WSBA 43589
                                                        Barraza Law PLLC
11                                                      14245F Ambaum Blvd SW
                                                        Burien, WA 98166
12                                                      Attorneys for Petitioners
13

14

15

16

17

18

19

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23

24

25

26
                                                                       Barraza Law, PLLC
                                                                    14245-F Ambaum Blvd. SW
     LAND USE PETITION - 11
                                                                        Burien, WA 98166
                                                                       206-933-7861 phone
                                                                         206-933-7863 fax
Case 2:19-cv-01130-RSL Document 96-23 Filed 03/04/21 Page 13 of 39




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                       OFFICE OF THE HEARING EXAMINER

                                  CITY OF SEATAC

                              REPORT AND DECISION


CASE NO.:               APL 16-0001
                        Appeal of an Administrative Decision
                        The Firs Mobile Home Park Relocation Plan

APPLICANT:              Fife Motel, Inc.
                        706 Marine Hills Way
                        Federal Way, WA 98003

ATTORNEY:               Olsen Law Firm PLLC
                        Attn: Walter H. Olsen, Jr.
                        205 South Meridian
                        Puyallup, WA 98371

APPELLANT:              Chrisanto Medina
                        20440 International Boulevard, Space 62
                        SeaTac, WA 98198

ATTORNEY:               Barraza Law, PLLC
                        Attn: Vincente Omar Barraza
                        14245-F Ambaum Boulevard S.W.
                        Burien, WA 98166

CITY ATTORNEY:          City of SeaTac
                        Attn: Mary Mirante Bartolo, City Attorney
                        4800 South 188th Street
                        SeaTac, WA 98188-4236

PLANNER:                Steve Pilcher, Planning Manager


SUMMARY OF DECISION:                    Appeals Denied.

PUBLIC HEARING:

After reviewing Department of Planning and Community Development Staff Report and
examining available information on file with the application, the Examiner conducted a
public hearing on the request as follows:


                                          1&
      Case 2:19-cv-01130-RSL Document 96-23 Filed 03/04/21 Page 18 of 39




The hearing was opened on January 19, 2017 at 6:03 p.m.

Parties wishing to testify were sworn in by the Examiner.

The following exhibits were submitted and made a part of the record as follows:

 EXHIBIT "1"      - Department of Community and Economic Development Staff
                    Report with Attachments 1-6
 EXHIBIT “2”      - Barraza Law Reply to Staff Report
 EXHIBIT “3”      - Declaration of Mailing Relocation Report and Plan
 EXHIBIT “4”      - Letter from Ed Kim dated May 8, 2016 (same as Ex 4 and Ex B,
                    Att. C to SR)
 EXHIBIT “5”      - Letter from Jong Park dated July 7, 2016 (same as Att. C to Ex
                    B in SR)
 EXHIBIT “6”      - Letter from Steve Pilcher dated October 17 (same as Ex A to
                    SR)
 EXHIBIT “7”      - Determination of Nonsignificance dated July 22, 2016 (same as
                    Ex D in SR)
 EXHIBIT “8”      - Tenants Union of Washington dated January 19, 2016 (7)
 EXHIBIT “9”      - Amended Notice of Appearance from Barraza Law dated
                    December 19, 2016
 EXHIBIT “10”     - Notice of Appearance on Behalf of Respondent/Applicant from
                    Olsen Law Firm dated December 19, 2016
 EXHIBIT “11”     - Order on Prehearing Conference dated December 20, 2016
 EXHIBIT “12”     - Respondent’s Joinder in City’s Response to Basis of Appeal
                    dated January 4, 2017, from Olsen Law Firm
 EXHIBIT “13”     - Walt Olsen email dated January 26, 2017
 EXHIBIT “14”     - Public Comment Letters Received Subsequent to Close of
                    Hearing
 EXHIBIT “15”     - Omar Barraza email dated January 26, 2017
 EXHIBIT “16”     - Memorandum from Examiner dated January 26, 2017
 EXHIBIT “17”     - Supplemental Briefing by City of SeaTac
 EXHIBIT “18”     - Closing Statement from Barraza Law
 EXHIBIT “19”     - Respondent’s Brief from Olsen Law Firm

The Minutes of the Public Hearing set forth below are not the official record and are
provided for the convenience of the parties. The official record is the recording of
the hearing that can be transcribed for purposes of appeal.

The Spanish interpreter, SAMUEL A. POTTS, was sworn in by the Examiner.

MARY MIRANTE BARTOLO, SeaTac city attorney, appeared and introduced Exhibit 3, a
declaration and testified that Fife Motel is the owner of The Firs Mobile Home Park. The
owner desires to close the mobile home park and redevelop it pursuant to SMC 15.465H.
The owner submitted a Relocation Plan to the City in October, 2016. On October 27,

                                           2&
      Case 2:19-cv-01130-RSL Document 96-23 Filed 03/04/21 Page 19 of 39




2016, appellant appealed the Relocation Plan. The City’s approval of the plan is the sole
issue for consideration in this appeal. Issues regarding closure of the park are irrelevant.
The issue is whether or not the City followed its code in approving the Relocation Plan.
The burden of proof is on the appellant to show that the City did not follow its code.

STEVE PILCHER, planning manager, appeared and testified that staff has been working
with the Relocation Plan and has worked with the appellants. The City concluded that
the plan met the requirements of the SeaTac Municipal Code. He is the author of the
Staff Report together with the legal department. The Staff Report is accurate and shows
how staff came to the conclusion that the plan is consistent with the SMC. Upon
questioning by WALTER OLSEN, attorney at law representing Fife Motel, MR. PILCHER
responded that the SMC sets forth the required elements of the Relocation Plan that
includes an inventory. They did provide an inventory of the names, ages, incomes, etc.
They also included the ages and conditions of the mobile homes and the cost of the pad
rentals, etc. Fife Motel submitted a SEPA checklist that was completed by The Firs. They
also include a housing inventory of low cost housing opportunities and information
regarding first time home buyers. They also included a statement of the timing of closure.
Upon questioning by MR. OMAR BARRAZA, attorney at law representing appellants, MR.
PILCHER testified that he believes he submitted the data for all households, but it was
difficult in getting some information from tenants. He identified Exhibit 4, a May 8, 2016,
letter. The SMC requires advance notice and he considered the Exhibit 4 letter adequate
to provide such notice. He did not independently verify that all tenants received the letter.
Receipt of the letter was sufficient to satisfy the code. He does not know if The Firs
translated the letter into Spanish. The SMC requires a scheduled meeting with tenants.
He did not schedule the meeting, but attended a meeting with the mobile home park
owner in early July. He doesn’t recall seeing the July 7 letter that was introduced as
Exhibit 5. It refers to a July 11, 2016 meeting. A Spanish language interpreter was
present at the meeting, but the City did not pay for the interpreter. The July 7 letter was
not translated and the City did not require its translation. He understands that an open
house occurred on May 14, 2016. The first Relocation Plan was submitted to the City on
May 27, 2016. He did not question whether the owner could obtain an inventory in
approximately 14 days. The letter also referred to one on one meetings between May 14
and May 27. He also did not verify whether such meetings in fact occurred. The City
issued a DNS and provided notice. However, the City did not translate the notice and did
not serve it on each resident. The City approved the letter marked Exhibit 6, but did not
translate it. Citing the code as Section 15.464.600 was a scrivener’s error. The incorrect
code was also cited in the letter. It was personally mailed to the list of residents provided
in the Relocation Report. He asked per the owner’s agreement to translate the main
portion of the Relocation Plan, but not the attachments. The owner paid for the original
translation. He felt that the main portion was important, but that the supporting documents
were not. The code provides no requirement to translate. Upon questioning by MS.
BARTOLO, MR. PILCHER testified that translation is not required by the code, but he
voluntarily asked the owner to translate the plan and the owner complied. Staff asked for
the owner’s agreement for the translation. Upon receipt the City hired a third party to
verify the accuracy of the translation. The City then opted to have the plan retranslated

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more accurately. The City’s translation is the version in the final plan.

CRISANTO MEDINA, appellant, appeared and testified that he is the president of The
Firs Mobile Home Park Homeowners Association and referred to the May 8 letter. He
attended the May 14 meeting, but did not understand the May 8 letter because it was in
English. He knew of the meeting because someone posted papers on his door. He was
informed of it. He didn’t understand the Exhibit 5 letter. Exhibit 7, the DNS, was left in
front of his house and he does not know when or where it was delivered. He does not
know what it says. He did not know about the 14 day appeal period. At the May 14
meeting they were asked to complete an inventory, but the form was not in Spanish.
People did not complete the inventory, at least as many as 30. No one informed them
that the inventory was to assess the impacts of closing the park. It was in writing on the
inventory form, but only in English. No one verbally told them of the reason for the
inventory or that it was voluntary or confidential. He received the letter of October 16,
2016, closing the park, but it was not in Spanish. There was no interpreter present at the
May 14 meeting, but there was at the July 11 meeting. However, she was not interpreting
well and he was confused at to what she was saying. He was not the only one that felt
that way. He did not receive a copy of the Relocation Plan in the October 17 letter. He
did not understand the Spanish translation of the plan. He had trouble understanding
everything. Upon questioning by MS. BARTOLO, MR. MEDINA stated that he could not
understand because it was not well written.

HELENA BENEDICT appeared and presented Exhibit 8, a letter from the Tenants
Association.

IRENE CRUZ appeared and testified that she did not understand any of the letters written
in English. Her son read them to her, but could not explain them because he is young
and couldn’t understand. She is very concerned about having to move because right now
they are close to many services, schools, jobs, and can receive help from older people.
She has an autistic child and it is very difficult to find a clinic and therapy. If she moves,
she will find it difficult to find another clinic or find work. She will end up out of work.

LUIS MORENO appeared and testified that he received the Relocation Plan and attended
the open house at the hotel. At no time did he receive a paper asking for information
about his mobile home. The Relocation Plan arrived between November 1 and November
3 and had an appeal date of October 31 which had expired. He was not notified. When
they came to deliver his copy they just taped it to the door and didn’t even knock. It was
also in the previous owner’s name. He bought a mobile home from Mr. Park about three
and a half to four years ago. Mr. Park knew when he sold him the mobile home that it
couldn’t be moved. The home had been destroyed and he spent $20,000.00 repairing it
and only recently finished with the repairs and now they will have to move.

MARTHA ZAMORA appeared and testified that she did not completely understand the
Relocation Plan as the majority was in English. Two meetings were held, but insufficient
and unclear information was provided. The interpreter was not that good. They didn’t

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inform her of an inventory and did not tell her she had a right to appeal the plan. No one
asked where she wanted to live or how moving would impact their lives. The majority of
the residents are families and they support each other. Thanks to the support of family
members, her children can continue to reside with her. They live near a school and her
son sleeps in a safe place. No consideration was given to her situation.

LETICIA VIDALES appeared and testified that at the May 14, 2016, open house she was
given a paper and told to mark down their attendance. At no time was she informed it
was for relocation. Personally, her family is affected, as several children live in the house
and go to school. If she moves, her job and a school will be far away. Her youngest
daughter will have to start over. One is in the last year of high school and after graduation
will go to the university. If they have to move, it will depend on the distance as to whether
she can complete high school. She is confused about financial assistance and a lot of
confusion remains about the relocation. She was not given correct information as it was
in English and she doesn’t speak the language. The children do speak it, but cannot
translate. No one came to her to give the correct information regarding the relocation and
what it means.
ROSA ISELA DELGADO appeared and testified that she resides in the park. The notice
affects all residents, their finances, and their inability to relocate. The first notice was given
in Spanish, but she could not understand the owners plan. Her daughter refuses to
change school and leave her teacher and friends. They are invested in their home.

SAUL GARCIA appeared and has the same concerns previously expressed. He didn’t
receive any letters, and mail has been destroyed and stolen at the mobile home park.
The only letter he received was left in front of his house. He is very concerned as closure
would take away his house, not just move it. The $7,500.00 or $12,000.00 the State will
provide will be used to demolish the mobile home.

PATSY WARE appeared and testified that she has resided at the mobile home park for
46 years. She last worked at Madrona Elementary and has seen how new schools affect
students. A fire occurred on July 29 and some lost many possessions and had to start
over. All tenants are low income residents and some are disabled, but they have pride in
home ownership and spend their funds to improve their homes. Concerning relocation,
the rents provided are $900.00 for a one bedroom apartment that can’t accommodate
families. Many of the mobile homes have asbestos. Residents are proud of their homes,
have well adjusted families, and the children are happy in their school. They will have
very few options and homelessness is foremost in their mind. SeaTac does not have
housing to accommodate the residents. Many residents work and shop locally. No mobile
home parks are available in the area. The City did not notify anyone of the zoning change
nor did the Planning Department. She has met many of the families in the park and they
are hard working and generous. Moving will damage and destroy what personal property
they have.
MARIA ANITA BRITO appeared and thanked everyone for the opportunity to speak. The
problems affect all of the residents. The eviction from the park is unfair and unjust. She
has lived here now for more than ten years and has invested her capital over the past

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years so that she could better her condition and her children’s health. The owner has no
idea of the problems this closure will cause to include a lot of stress to all residents. They
are desperate, where will they live? They are hard working, but they have insufficient
assets to move. The rents are too high and for older people it would be very difficult.
They will not have sufficient help to survive elsewhere. Children attend Madrona
Elementary near their homes. The situation creates problems for them. It will not be easy
to incorporate their children in another school. They also have their activities and work
nearby, but this will end if they move to another area. Her husband doesn’t drive and
works in Seattle. He uses the light rail to go to and from work, and that makes their lives
better. They don’t worry about public transportation.

GUADALUPE RODRIGUEZ appeared and testified that a letter arrived at her home, but
he did not understand it as it was in English. Just she and her husband live there and
neither understand English. The documents were received by mail, but many times their
mail is opened. No one pays attention to the parking lot and cars are stolen. The owner
pays no attention. In the parking lot a hole in the pavement is not filled, and when it rains
one cannot get by. The children have to jump over puddles to get to school because the
owner has not paid attention. Even so, they want to stay in the park and are happy to live
there. They want consideration as to how they feel.

MARIA DEL R. RODRIGUEZ appeared and testified that after she picked up her daughter
from school she saw a car parked in the middle of the mobile home street. She also saw
someone with a camera and tripod and another with papers in hand. She found papers
stuck to her door. They thought it was advertising and not important. They now realize
the papers were the Relocation Plan. They thought they would be relocated to another
space within the park. They looked at the papers closely, but could only interpret about
30 percent. Only about 30 percent was understandable. The plan is not functional. They
spoke about it and feel it is racist on Mr. Park’s part and on SeaTac’s part. They are not
respecting the rights of those who live there. People should start thinking about what they
would do if they received such a notice. They are people of low income and many have
only one salary. What will they do and where will they live? The children are their main
concern. They are at a young age and where will they live? She has a six year old
daughter and seven year old step daughter. Their Christmas wish was that no one takes
their home away. Her daughter is saving quarters so they can afford a new place to live.
She is worried about her school as she is now in special ed. She cannot get the special
ed at another school. Her 15 year old son made plans with a teacher for the next two
years. The plans include college. If they move, he cannot get the help he needs and will
miss the opportunity for college. Please take into consideration their situation and help
with the Relocation Plan. Put yourself in their shoes.

HUGO ZAMORA appeared and testified that he, like all residents, is worried. Since the
beginning, all the information was in English. Many don’t speak English and there has
been a lot of confusion. There is talk about $7,000.00 and $12,000.00 reimbursement
and he is unsure where the money comes from or what it can be used for. The State
provides $7,000.00 for demolition, and then a $2,000.00 offer comes from the owners.

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When he heard that he felt they were making fun of him. A home costs much more and
they have invested in remodeling their present homes. He didn’t spend just $5,000.00 to
$6,000.00 on his home, but spent more than $15,000.00 to $20,000.00. The $2,000.00
amount is a slap in the face, makes fun of them, and is ridiculous. The Relocation Plan
is not clear. He was told that possibly they could be sent outside the city or county.
Nothing is clear in Spanish. The previous information was in English.

EARL GIPSON appeared and testified that he has appeared before the Examiner a
number of times where he was against the City. The City has nothing to do with racism.
The allegation is not appropriate in this venue and should not be put in the record in any
manner. He has disagreed with the City in the past, but the City is definitely not racist.

STEPHANIE RUIZ appeared and testified that she has resided in the mobile home park
for 11 years with her two daughters. She received the notice taped to her door. She
attended the meeting. She was advised that they would contact her for a one on one
meeting, but that has not happened to date. Neither the City nor the owner have provided
any information regarding the plan. Nothing was presented at that meeting. They felt the
meeting was for the purpose of asking questions regarding the relocation. She only
attended the May 14 meeting, not the July 16 meeting. She was only made aware today
that the July meeting was held. She can understand why everyone had a hard time
understanding at the May meeting. The Spanish interpreter was not that good. Her
daughter attends Madrona and she is a single mom. It is difficult to find a home near a
neighbor that will help her with childcare. Here, she has sufficient help.

MR. BARRAZA and MS. BARTOLO then presented closing arguments.

No one spoke further in this matter. The Examiner left the record open for one week for
residents to provide comment letters and a second week for the submittal of legal briefs.
He then took the matter under advisement. The hearing concluded at 8:53 p.m.

NOTE:        A complete record of this hearing is available in the office of City of SeaTac
             Department of Planning and Community Development.

FINDINGS, CONCLUSIONS, AND DECISION:

FINDINGS:

1.    The Hearing Examiner has admitted documentary evidence into the record, heard
      testimony, and taken this matter under advisement.

2.    The City of SeaTac responsible official issued a threshold Determination of
      Nonsignificance following review pursuant to the State Environmental Policy Act
      (SEPA) on July 22, 2016. No appeals were timely filed.

3.    The City provided proper notice of this appeal hearing pursuant to the SeaTac

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     Municipal Code.

4.   Crisanto Medina and The Firs Mobile Home Park Homeowners Association appeal
     a decision of the City of SeaTac Acting Community and Economic Development
     Director to approve a Mobile Home Park Relocation Plan for The Firs Mobile Home
     Park located at 20440 International Boulevard with the City of SeaTac. Section
     1.20.100 of the SeaTac Municipal Code (SMC) authorizes the Examiner to conduct
     a public hearing and issue a decision on:

     H.     Appeals from administrative decisions or determinations by City
            officials where the governing ordinance provides for an appeal to the
            Examiner.

     Section 15.465.600(H)(2)(g) SMC authorizes an appeal of a decision of the
     Director of Community and Economic Development’s approving a mobile home
     park relocation plan. Section 1.20.100 SMC provides that Examiner decisions on
     such appeals are “final and conclusive” and not appealable to the SeaTac City
     Council. For the reasons set forth hereinafter, the City has established by a
     preponderance of the evidence that The Firs Mobile Home Park Relocation Plan
     satisfies all criteria set forth in SMC 15.465.600(H)(1)(a-f).

5.   Appellants also appeal the issuance of the threshold DNS by the City of SeaTac
     responsible official following SEPA review of the environmental impacts of closure
     of the mobile home park. The responsible official issued the DNS on July 22, 2016,
     and the Notice of Issuance advised that the appeal period for the DNS expired at
     5:00 p.m., August 15, 2016. Appellants did not attempt to submit an appeal of the
     DNS until November 18, 2016. Section 16A.23.160 SMC requires that an appeal
     of a SEPA threshold determination must be filed with the City Clerk in writing within
     ten days of the date of issuance of said DNS, and that additional written
     documentation in support of the appeal must be submitted within 14 days of filing
     the initial appeal. Furthermore, SMC 16A.23.170 requires full payment of the filing
     fee upon filing of the appeal. In the present case appellants neither filed their
     environmental appeal nor paid the filing fee within the required time limits.
     Therefore, the Examiner has no jurisdiction to consider the environmental appeal,
     and it is deemed denied.

6.   The owner of The Firs Mobile Home Park (owner) has decided to close its mobile
     home park and redevelop it with another use in accordance with the City’s zoning
     code set forth in Title 15 SMC. Appellants, Mr. Medina and residents of the park,
     object to its closure based upon the extreme financial hardships, job related issues,
     family related issues, loss of support of friends and relatives, relocation of school
     children into new schools, and for other reasons. Appellants also argue that the
     City improperly approved owner’s Relocation Plan, asserting numerous
     deficiencies.


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7.   Residents of the mobile home park presented compelling testimony regarding the
     hardships involved in relocation of their homes to include, finding a vacant space
     in a mobile home park, disruption of their children’s education in having to change
     schools, loss of community support, and loss of convenient transit service.
     Appellants also assert that the owner and City should have provided accurate
     Spanish translation of all written documents associated with the closure of the
     mobile home park to include, the SEPA evaluation, the Relocation Plan, and
     attachments thereto, and all correspondence from owner and the City since more
     than 50 percent of park residents speak Spanish exclusively. Appellants also
     assert that owner should have provided qualified Spanish translators at community
     meetings.

8.   Both the Washington State Legislature and SeaTac City Council have recognized
     the hardships experienced by tenants of a mobile home park proposed for closure.
     Both legislative bodies have provided significantly greater protection for mobile
     home tenants than for tenants of apartment buildings slated for closure (a 20 day
     notice without a lease). Legislative Findings for the 2008 Amendments to the
     Manufactured/Mobile Home Landlord-Tenant Act set forth in RCW 59.20 includes
     the following:

     (a)   Manufactured/mobile home communities provide a significant source
           of homeownership opportunities for Washington residents.
           However,     the    increasing   closure    and   conversion       of
           manufactured/mobile home communities to other uses, combined
           with increasing mobile home lot rents, low vacancy rates in existing
           manufactured/mobile home communities, and the extremely high
           cost of moving homes when manufactured/mobile home
           communities close, increasingly make manufactured/mobile home
           community living insecure for manufactured/mobile home tenants.

     (b)   Many tenants who reside in manufactured/mobile home communities
           are low-income households and senior citizens and are, therefore,
           those residents most in need of reasonable security in the siting of
           their manufactured/mobile homes because of the adverse impacts
           on the health, safety, and welfare of tenants forced to move due to
           closure, change of use, or discontinuance of manufactured/mobile
           home communities….(See Findings-Intent-2008c116 following
           RCWA59.20.300)

     In response to said Findings, the State Legislature adopted RCW 59.20.080 that
     in Subsection (1)(e) provides that when a landlord decides to convert a
     manufactured/mobile home park to a different use, the landlord “shall” provide a
     12 month notice to tenants in advance of the effective date of the conversion.
     Furthermore, RCW 59.20.300 requires a landlord/owner to provide by certified mail
     or personal delivery a written notice of the sale of the mobile home park and other

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      information that must be included in the notice. In RCW Chapter 59.21, entitled
      “Mobile Home Relocation Assistance”, our Legislature provides financial
      assistance for relocating mobile homes and waives modern code requirements for
      existing, older mobile homes that provide affordable housing. RCW 59.21.105
      prohibits cities and counties from imposing applicable fire, safety, or construction
      codes to such relocated homes. Our Legislature also adopted RCW Chapter 59.22
      that recognizes that the “turnover in ownership” of mobile home development has
      caused housing to become unaffordable for the low-income, elderly, poor, and
      infirmed, thereby resulting in increased numbers of homeless persons and
      persons who look to public housing and public programs (see RCW
      59.22.010(1)(a).).    Chapter 59.22 RCW provides financial assistance for
      converting ownership of mobile home parks to the tenants. Residents of The Firs
      Mobile Home Park confirmed and amplified the Legislature’s Findings.

9.    The SeaTac City Council has also recognized the significant impacts to mobile
      home park residents upon conversion of a park to a different use. In addition to
      the State’s criteria, the City Council has adopted additional requirements that an
      owner must meet before closing its mobile home park. Section 15.465.600(H)
      SMC sets forth closure requirements that include preparation of a mobile home
      park relocation plan, analysis of environmental factors to include preparation of a
      SEPA analysis, timing and preparation dates for the mobile home relocation plan,
      and approval of a relocation agreement with tenants where possible.

10.   Section 15.465.600(H)(1) SMC sets forth the “Required Elements of the Mobile
      Home Park Relocation Plan”. Subsection (H)(2) sets forth the timing and
      preparation requirements for the relocation plan and also provides standards for
      such plan. Subsection (A)(2) requires in part:

      (e)   The department shall review the relocation plan to ensure
            compliance with the requirements of subsection (H)(1) of this section.
            If it is determined that the requirements have not been met, the
            department shall notify the mobile home park owner in writing of the
            identified deficiencies. The owner shall revise the plan to correct all
            of the identified deficiencies before resubmitting it to the City.

      (f)   Once it is determined that the requirements of subsection (A) [no
            subsection (A) exists and it is obvious from the context of paragraphs
            (e) and (f) that the correct subsection is (H)(1)] of this section have
            been met, the Director of the department shall issue a decision on
            the relocation plan based on the impacts of the proposed action…If
            the relocation plan is approved, the Director shall issue a certificate
            of approval.

      (g)   The decision of the Director is appealable to the Hearing
            Examiner…If the decision is appealed, the relocation plan process

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             as set forth herein shall automatically be stayed until the appeal is
             resolved.

11.   The office of Hearing Examiner position was created by the SeaTac City Council
      and has only the authority granted by the Council (see SMC 1.20.020). In the
      present case, the City Council has authorized the Examiner to consider those
      SEPA appeals timely filed, and an appeal of the Director’s decision to approve a
      mobile home park’s owner’s relocation plan (See Subsections (f) and (g), supra).
      The City Council has not authorized appeals to the Examiner of other issues
      associated with a relocation plan. Furthermore, our Washington courts have ruled
      that examiners do not have authority to consider equitable remedies (Chaussee v
      Snohomish County Council, 38 Wn. App. 630 (1984)). Our courts have also ruled
      that examiners have no authority to decide constitutional issues or to declare
      ordinances illegal (Yakima County Clean Air Authority v Glascam Builders, Inc., 85
      Wn. 2d 255 (1975). The City of SeaTac examiner likewise has no authority to
      require a park owner to “start over” and provide all notices, letters, and plans to the
      tenants in Spanish as neither the RCW nor the SMC require such. Thus, in
      accordance with the SMC, this Decision is limited to whether or not the Director
      properly approved owner’s relocation plan and properly issued a certificate of
      approval.

12.   Section 15.465.600(H)(1)(a-f) SMC sets forth the “Required Elements of the
      Mobile Home Park Relocation Plan”. Findings on whether owner’s plan meets all
      required elements set forth therein are hereby made as follows:

      a.     Subparagraph (a) requires owner to prepare an inventory of park tenants
             and their mobile homes for the purpose of providing data for the SEPA
             checklist and SEPA analysis of the environmental impacts of mobile home
             park closure. The inventory also establishes a basis for identifying
             relocation/mitigation options. The inventory “shall” include tenants’ age,
             income, and number of years in the park; the age and conditions of tenants’
             mobile homes; and the cost of pad rental, utility fees, personal utilities,
             insurance, personal property taxes, and “mobile home security interests”.
             The inventory form must clearly advise tenants that the disclosure is
             voluntary and that the purpose is to assess the impact of the proposed
             closure and applicability of low-income housing assistance programs. In
             the present case appellants argue that owner should have advised park
             tenants in Spanish of the purpose of the information, and because it did not
             do so, the inventory was meaningless. However, the Relocation Plan
             reflects that inventory sheets were completed with residents at an open
             house and in subsequent individual meetings. The plan reflects the number
             of residents, households residing in single-wide homes, the number of
             homes having tip-outs or additional living spaces, the number of double-
             wide homes, and the fact that four households are not eligible for State
             assistance. Thus, the inventory meets the requirements of this subsection.

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      b.    Paragraph (b) requires an analysis of environmental conditions of the park.
            The owner submitted an environmental checklist and the City responsible
            official issued a DNS following SEPA review. No appeal was filed and the
            SEPA analysis is final. Appellants argue that owner should have provided
            the checklist and other environmental documents in Spanish, neither the
            RCW nor SMC require such.

      c.    Paragraph (c) requires a list of relocation options. Attachment (B) to the
            Relocation Plan provides many pages of affordable and low-income
            housing opportunities in the area. While it is true that many such
            opportunities are not located within the City of SeaTac and may be more
            expensive than the current rental, the owner has provided a substantial list
            of such facilities in the south King County area. The list also includes vacant
            mobile home spaces in King and Pierce Counties, a list of low-cost
            apartments or low-cost housing options in King County, information from
            banks concerning first time home buyer programs, information from County
            and non-profit entities concerning relocation park options. No information
            from the Port of Seattle regarding noise mitigation funds was provided, as
            such is not relevant.

      d.    Owner will comply with paragraph (d) during the implementation of the plan
            by gathering information from each tenant as to the tenant’s preference for
            housing options. Owner will then coordinate each tenant’s preferences with
            others in the park.

      e.    Paragraph 6 of the Relocation Plan sets forth a statement of the anticipated
            timing of closure, i.e., 12 months from service of an official closure notice in
            compliance with paragraph (e).

      f.    Paragraph 2 of the Plan sets forth numerous methods to minimize the
            impacts of park closure on the tenants to include assistance with obtaining
            relocation funding, assistance with State paperwork, assistance with
            housing paperwork, provision of a hotline available to all residents, monthly
            information updates provided to each household, a list of movers/demolition
            companies, provision of a relocation contact specialist, and provision of a
            relocation assistance schedule.

      The City has shown that the Relocation Plan satisfies the required elements of a
      Mobile Home Park Relocation Plan in accordance with the SMC.

13.   A chronology of events leading up to the present appeals is as follows:

      A.    Owner hand-delivered a letter to all 66 tenants in The Firs Mobile Home

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            Park advising of an open house meeting scheduled for Saturday, May 14,
            2016, from 11:00 a.m. to 5:00 p.m. at a hotel adjacent to the park. The letter
            is dated May 8, 2016, and signed by owner’s managing partner. The letter
            advises tenants that owner will close the mobile home park and that a
            relocation specialist will attend the meeting to work with them. The letter
            advises those who could not attend the meeting of the opportunity to
            schedule an individual meeting.

      B.    The City received a draft Relocation Plan on May 27, 2016.

      C.    By letter dated July 7, 2016, owner advised residents of a second meeting
            on July 11, 2016, and that Mr. Steve Pilcher, Planning Manager, City of
            SeaTac, would attend and answer questions about the relocation process.
            The relocation specialist, an interpreter, and a social worker also attended
            the meeting. The letter also advised residents that they would receive a
            copy of the Relocation Report and Plan following its approval by the City.

      D.    The meeting occurred on July 11, and was attended by Mr. Pilcher. An
            interpreter was provided because tenants of 49 mobile homes speak
            Spanish and limited English. Individual meetings within tenants’ homes
            occurred between the two meetings.

      E.    On July 22, 2016, the responsible official issued the SEPA threshold DNS.

      F.    August 30, 2016, owner submitted a revised Relocation Plan in response to
            the City’s review.

      G.    On October 7, 2016, owner submitted its final draft of the Relocation Plan.

      H.    On October 17, 2016, the City approved the Relocation Plan and issued a
            Certificate of Approval. Notice of the approval was mailed to all tenants the
            same day.

      I.    On October 31, 2016, appellant Medina timely filed an appeal of the
            approval of the Relocation Plan.

14.   Appellants raise a number of issues concerning the adequacy of the Relocation
      Plan. Findings on relevant issues are hereby made as follows:

      A.    Appellant correctly asserts that the City’s notice of approval letter, dated
            October 17, 2016, the Relocation Plan, and the Certificate of Approval refer
            to SMC 15.464.600(H)(2)(f), a non-existent SMC code section. The correct
            citation is SMC 15.465.600(H)(2)(f). The incorrect citation is in the nature
            of a scrivener’s error and appellants have presented no evidence that any
            of the mobile home park tenants were mislead. As noted above, the SMC

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      itself has incorrect internal citations, and appellant raised no confusion or
      misleading issues. The appellants timely filed their appeal of the Relocation
      Plan approval.

B.    Appellants assert that the Relocation Plan contains misleading or
      incomplete information regarding reimbursement from the Washington
      State Office of Manufactured Housing. First, SMC Relocation Plan criteria
      do not require an owner to address the State Financial Assistance Program.
      Second, the State is responsible for administering said program, and will
      determine the documentation necessary for obtaining reimbursement, and
      will also determine whether recreational vehicles, park models, or “tip-outs”
      are eligible.

C.    Appellants assert that owner did not provide adequate service of the final,
      approved Relocation Plan. However, owner presented declarations setting
      forth attempts to deliver a copy of the Relocation Plan to all tenants between
      October 25 and 30, 2016. Tenant testimony at the hearing confirms people
      attaching paperwork to doors and a camera on a tripod recording the
      activity. According to the RCW, owner cannot close the park for 12 months
      following service of the notice of intent to close. Again, appellants timely
      filed their appeal.

D.    Appellants assert that the Relocation Plan “unlawfully accelerates the
      closure timeline and implies that families should move before the end of the
      12 month period”. Owner’s initial notice of the closure to residents does not
      constitute the official notice required by State law, nor is it part of the
      Relocation Plan. Furthermore, the May 8, 2016 letter clearly states that
      owner would close the park and redevelop the site beginning June, 2017,
      and tenants would receive a 12 month notice prior to closure. Any
      erroneous understanding could have been corrected at either the May or
      July tenants meeting, especially in July when owner provided an interpreter,
      or in individual one-on-one meetings.

E.    Appellants assert that owner failed to provide a proper inventory because it
      failed to disclose the purpose of the inventory; failed to translate the
      inventory form into Spanish; and that owner’s relocation agent did not meet
      separately with each family to obtain the required information for the
      inventory. The SMC provides that the inventory request form “shall clearly
      state” that the purpose of the information is to “assess the impact of the
      proposed closure and the applicability of low-income housing assistance
      programs”. While the inventory form does not include a specific statement
      of intent to close the park, the form does include a section to rate the mobility
      of a home for purposes of relocation. Such provides a clear indication of
      the intent to close the park. Furthermore, owner had previously notified
      tenants in writing by its letter of May 8, 2016, of its intent to close the park,

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      had held an open house, and had held individual meetings with tenants to
      assist in relocation.

F.    Appellants allege that failure to translate the inventory form violates tenants’
      constitutional and Federal statutory rights. However, the SMC does not
      require translation of said from into Spanish or other languages, and the
      Examiner has no authority to order the City to do so.

G.    Appellants assert that the plan provides inadequate relocation options,
      inaccurate information about housing choices, and incomplete
      communication in the primary language of a majority of tenants. However,
      the Plan provides many pages of various housing options within the south
      King County area and also includes a list of low-cost housing agencies and
      their contact information.

H.    Appellants assert that the plan does not consider the age of the mobile
      homes and therefore fails to consider impacts on the net worth of tenants.
      However, the age of the units is reflected on Attachment D, the housing
      information sheets, and is also available on the King County Assessor’s
      website. Furthermore, neither the SMC nor SEPA require an analysis of
      park closure on the net worth of affected families. Chapter 197 of the
      Washington Administrative Code (WAC) sets forth the SEPA rules, and
      WAC 197-11-450 provides that SEPA does not require a cost benefit
      analysis.

I.    Appellants assert throughout their appeal that owner and the City did not
      require Spanish translations of the Relocation Plan and of all attached
      appendices. Neither the RCW nor the SMC require either a Spanish
      language version of the plan or any other language version of the plan.
      Even though not obligated to do so, the City directed the owner to provide
      a Spanish language version of the main portion of the Plan for tenants, but
      not the nine appendices attached thereto. Staff then had the translation
      examined by a third party translator. The City then authorized a retranslation
      of the owner’s version. The owner then incorporated the “City’s interpreter’s
      version” into the final plan. However, even then, appellants were not
      satisfied with the translation and continue to allege inadequate and
      incomplete communication in Spanish.

J.    Appellants assert that the SeaTac City Council violated tenants’ due
      process rights by failing to extend the appeal deadline even though families
      did not receive notice of the Relocation Plan approval until on or about
      October 25, 2016. The Examiner has no authority to consider whether the
      City Council violated residents’ due process rights, but notes that appellants
      timely filed an appeal of the Relocation Plan and timely supplemented said
      appeal. Furthermore, appellants were most ably represented at the public

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            hearing by counsel, and the City provided a most qualified interpreter.

      K.    The loss of school funding by Madrona Elementary School due to a potential
            loss of Hispanic/Latino students is far beyond the scope of the Relocation
            Plan. The school provided no comment on the appeals. Furthermore,
            consistency of the Relocation Plan with the City of SeaTac Comprehensive
            Plan is at best a SEPA issue, and as previously found, the SEPA appeal
            period expired long before the attempt to file the present SEPA appeal.

      L.    Appellants assert that the City violated Title VI of the Civil Rights Act of 1964
            by failing to provide Spanish language interpretations of all documents. As
            previously found the Examiner is limited to a determination as to whether or
            not the City has complied with SMC provisions. Consideration of the Civil
            Rights Act is far beyond a hearing examiner’s jurisdiction.

CONCLUSIONS:

1.    The Hearing Examiner has jurisdiction to consider and decide the issues presented
      by this request.

2.    The City has shown that the Director’s decision to approve the Mobile Home Park
      Relocation Plan for The Firs Mobile Home Park issued on October 17, 2016, was
      legally correct. The Relocation Plan satisfies all criteria set forth in SMC
      15.465.600(H). Therefore, appellants appeal should be denied.

3.    Appellants did not timely file an appeal of the SEPA threshold DNS and therefore
      the Examiner has no jurisdiction to consider it.

DECISION:

The appeal of Crisanto Medina and The Firs Mobile Home Park Homeowners Association
of the City’s decision to approve the Mobile Home Park Relocation Plan for The Firs
Mobile Home Park is hereby denied. The SEPA appeal is likewise denied due to its
untimely filing.

ORDERED this 22nd day of February, 2017.

                                         _____________________________________
                                         STEPHEN K. CAUSSEAUX, JR.
                                         Hearing Examiner




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TRANSMITTED this day of February, 2017, to the following:

APPLICANT:             Fife Motel, Inc.
                       706 Marine Hills Way
                       Federal Way, WA 98003

ATTORNEY:              Olsen Law Firm PLLC
                       Attn: Walter H. Olsen, Jr.
                       205 South Meridian
                       Puyallup, WA 98371

APPELLANT:             Chrisanto Medina
                       20440 International Boulevard, Space 62
                       SeaTac, WA 98198

ATTORNEY:              Barraza Law, PLLC
                       Attn: Vincente Omar Barraza
                       14245-F Ambaum Boulevard S.W.
                       Burien, WA 98166

CITY ATTORNEY:         City of SeaTac
                       Attn: Mary Mirante Bartolo, City Attorney
                       4800 South 188th Street
                       SeaTac, WA 98188-4236

OTHERS:

Jan Sylvester                             Earl Gipson
12605-115th Avenue Court East             17050-51st Avenue South
Puyallup, WA 98374                        SeaTac, WA 98188


CITY OF SEATAC




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